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 1                                                                                  ¶
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 2                                                                                  ¶
                                                                                    ¶
 3                                                                                  1¶
                                                                                    2¶
                                                                                    3¶
 4                                                                                  4¶
                                                                                    5¶
                                                                                    6¶
 5                                                                                  7¶

 6

 7

 8                          UNITED STATES DISTRICT COURT                            Formatted: Font: 14 pt, Bold
                                                                                    Formatted: Font: 14 pt, Bold, Not Expanded by / Condensed
 9                       CENTRAL DISTRICT OF CALIFORNIA                             by
                                                                                    Formatted: Font: 14 pt, Bold
10                               EASTERN DISTRICT
                                                                                    Formatted: Font: 14 pt, Bold, Not Expanded by / Condensed
                                                                                    by
11
                                                                                    Formatted: Font: 14 pt, Bold
12                                                                                  Formatted: Font: 14 pt, Bold, Not Expanded by / Condensed
     JOSEPH DIAZ, JR.,                    CASE NO. 5:20-cv-02332-JWH-KK             by
13                                                                                  Formatted: Font: 14 pt, Bold
               Plaintiff,
14                                        HON. KENLY KIYA KATO                      Formatted: Indent: Left: 0", Right: 0", Space Before: 36
                                                                                    pt, Line spacing: single
          v.
                                                                                    Deleted: 8¶
15                                        [DISCOVERY MATTER]
   RALPH HEREDIA, true name RAFAEL                                                  Formatted: Font: 14 pt, Bold
16 HEREDIA TARANGO, a/k/a RAFAEL                                                    Formatted: Font: 14 pt, Bold, Not Expanded by / Condensed
   HEREDIA, a/k/a RAFAEL                  [PROPOSED] PROTECTIVE                     by
17                                        ORDER                                     Formatted: Font: 14 pt, Bold
   BUSTAMANTE; JOHN DOE, ESQ.; and
                                                                                    Formatted: Font: 14 pt, Bold, Not Expanded by / Condensed
18 JANE DOES 1 through 20, inclusive,     Discovery Cut-Off: July 8, 2022           by

19             Defendants.                Pre-Trial Conference: November 18, 2022   Formatted: Font: 14 pt, Bold
                                          Trial: December 5, 2022                   Formatted: Font: 14 pt, Bold, Not Expanded by / Condensed
                                                                                    by
20
                                                                                    Formatted: Font: 14 pt, Bold

21                                                                                  Deleted: 9¶
                                                                                            10¶
                                                                                    11¶
22                                                                                  12¶
                                                                                    13¶
23                                                                                  14¶
                                                                                            15¶
                                                                                    16¶
24                                                                                  17! 1.! A.

25
26

27

28


                                                [PROPOSED] PROTECTIVE ORDER
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                                                                                                    Deleted: 18¶
                                                                                                        Deleted: ¶
 1   1.     PURPOSES AND LIMITATIONS                                                                Formatted                                                  ... [6]
                                                                                                    Formatted
 2            A. INTRODUCTION                                                                                                                                  ... [5]
                                                                                                        Deleted:
 3         Discovery in this action is likely to involve production of confidential,                    Deleted: ¶
                                                                                                    Formatted                                                  ... [7]
 4 proprietary, or private information for which special protection from public disclosure          Formatted                                                  ... [8]

 5 and from use for any purpose other than prosecuting this litigation may be warranted.            Formatted                                                  ... [9]
                                                                                                        Deleted: ¶
 6 Accordingly, the parties hereby stipulate to and petition the court to enter the following       Formatted                                                 ... [10]
                                                                                                        Deleted: Court
 7 Stipulated Protective Order. The parties acknowledge that this Order does not confer
                                                                                                        Deleted: ¶

 8 blanket protections on all disclosures or responses to discovery and that the protection         Formatted                                                 ... [11]
                                                                                                    Formatted                                                 ... [12]
 9 it affords from public disclosure and use extends only to the limited information or                 Deleted: ¶

10 items that are entitled to confidential treatment under the applicable legal principles.         Formatted                                                 ... [13]
                                                                                                        Deleted: ¶
11 The parties further acknowledge, as set forth in Section 12.3, below, that this Stipulated       Formatted                                                 ... [14]
                                                                                                        Deleted: ¶
12 Protective Order does not entitle them to file confidential information under seal; Civil
                                                                                                    Formatted                                                 ... [15]
13 Local Rule 79-5 sets forth the procedures that must be followed and the standards that               Deleted: ¶
                                                                                                    Formatted                                                 ... [16]
14 will be applied when a party seeks permission from the court to file material under                  Deleted: ¶
                                                                                                    Formatted
15 seal.                                                                                                                                                      ... [17]
                                                                                                        Deleted: ¶                                            ... [18]
16          B.    GOOD CAUSE STATEMENT                                                              Formatted                                                 ... [19]
                                                                                                        Deleted: ¶
17          This action is likely to involve confidential medical records, including mental
                                                                                                    Formatted                                                 ... [20]
18   health treatment records, certain financial information, and certain confidential                  Deleted: ¶
                                                                                                    Formatted                                                 ... [21]
19   business communications, for which special protection from public disclosure, and              Deleted: 4¶                                               ... [22]
                                                                                                    Formatted
20   from use for any purpose other than prosecution of this action, is warranted. Such                                                                       ... [23]
                                                                                                    Deleted: 6¶                                               ... [24]
21   confidential and proprietary materials and information consist of, among other                 Deleted: trade secrets, customer and pricing lists and¶   ... [26]
                                                                                                    Formatted                                                 ... [25]
22   things, confidential business    or     financial        information,            information   Deleted: , technical and/or¶                              ... [28]
23   regarding confidential    business    practices,    or    other   confidential     research,   Formatted                                                 ... [27]
                                                                                                    Formatted                                                 ... [29]
24   development, or commercial information (including information implicating privacy              Deleted: ¶
                                                                                                    Deleted: …uch¶
25   rights of third parties), information otherwise generally unavailable to the public, or                                                                  ... [31]
                                                                                                    Formatted                                                 ... [30]
26   which may be privileged or otherwise protected from disclosure under state or                  Deleted: ¶
                                                                                                    Deleted: ! …information! …regarding¶                      ... [32]
27   federal statutes, court rules, case decisions, or common law. Accordingly, to                  Deleted: ¶

28   expedite the flow of information, to facilitate the prompt resolution of disputes over         Deleted: ¶
                                                                                                    Deleted: ¶
                                                                                                    Deleted: ¶
                                                 1                                                  Deleted: !
                                               [PROPOSED] PROTECTIVE ORDER                          Formatted                                                 ... [33]
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                                                                                                Deleted: ¶
                                                                                               Formatted                                                     ... [38]
 1   confidentiality of discovery materials, to adequately protect information the parties      Deleted: ¶
                                                                                               Formatted
 2   are entitled to keep confidential, to ensure that the parties are permitted reasonable                                                                  ... [39]
                                                                                                Deleted: ¶

 3   necessary uses of such material in preparation for and in the conduct of trial, to        Formatted                                                     ... [40]
                                                                                                Deleted: for
 4   address their handling at the end of the litigation, and to serve the ends of justice,     Deleted: ¶

 5   good cause exists for a protective order to protect such information is justified in      Formatted                                                     ... [41]
                                                                                               Formatted                                                     ... [42]
 6   this matter. Information will not be designated “ CONFIDENTIAL” for tactical               Deleted: It is the intent of the parties that information¶
                                                                                                Deleted: as confidential
 7   reasons. Nothing will be designated “confidential” without a good faith belief that it
                                                                                               Formatted                                                     ... [43]
 8   has been maintained in a confidential, non-public manner, and without a good faith        Formatted                                                     ... [44]
                                                                                                Deleted: and that nothing
 9   belief that good cause exists as to why it should not be part of the public record of      Deleted: so¶                                                 ... [46]
                                                                                               Formatted
10   this case.                                                                                                                                              ... [45]
                                                                                               Formatted                                                     ... [47]
11   2.    DEFINITIONS                                                                          Deleted: ¶
                                                                                                Deleted: there is
12          2.1   Action: this pending federal lawsuit.                                        Formatted                                                     ... [48]
13          2.2   Challenging Party: a Party or Non-Party that challenges the designation       Deleted: ¶
                                                                                               Formatted                                                     ... [49]
14 of information or items under this Order.                                                   Formatted                                                     ... [50]
                                                                                                Deleted: 4¶
15          2.3   “CONFIDENTIAL” Information or Items: information (regardless of                                                                            ... [51]
                                                                                               Formatted                                                     ... [52]
16 how it is generated, stored or maintained) or tangible things that qualify for protection   Deleted: 2.1!
                                                                                               Deleted: [
17 under Federal Rule of Civil Procedure 26(c), and as specified above in the Good Cause       Deleted: law suit]. [*Option: consolidated or

18 Statement.                                                                                  Formatted                                                     ... [53]
                                                                                               Formatted                                                     ... [54]
19          2.4   Counsel (without qualifier): Outside Counsel of Record and House                Deleted: <#>related actions.]¶                             ... [55]
                                                                                                  Deleted: <#>¶
20 Counsel (as well as their supporting staff).
                                                                                               Formatted                                                     ... [56]
21          2.5   Designating Party: a Party or Non-Party that designates information or       Formatted                                                     ... [57]
                                                                                                     Deleted: 2.3!
22 items    that it produces in disclosures or in responses to discovery as                          Deleted: !

23 “CONFIDENTIAL.”                                                                             Formatted                                                     ... [58]
                                                                                               Formatted                                                     ... [59]
24          2.6   Disclosure or Discovery Material: all items or information, regardless             Deleted: ¶
                                                                                               Formatted
25 of the medium or manner in which it is generated, stored, or maintained (including,                                                                       ... [60]
                                                                                                     Deleted: ¶
26 among other things, testimony, transcripts, and tangible things), that are produced or      Formatted                                                     ... [61]
                                                                                                  Deleted: <#>the Good Cause Statement.¶                     ... [62]
27 generated in disclosures or responses to discovery in this Action.                             Deleted: <#>:!

28                                                                                             Formatted                                                     ... [63]
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                                                 2                                                Deleted: <#>support
                                               [PROPOSED] PROTECTIVE ORDER                     Formatted                                                     ... [65]
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 1          2.7   Expert: a person with specialized knowledge or experience in a matter         Formatted                                             ... [88]
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 2 pertinent to the litigation who has been retained by a Party or its counsel to serve as an
                                                                                                     Deleted: Action.¶
 3 expert witness or as a consultant in this Action.                                            Formatted                                             ... [89]
                                                                                                     Deleted: ¶
 4          2.8   House Counsel: attorneys who are employees of a party to this action.         Formatted                                             ... [90]

 5 House Counsel does not include Outside Counsel of Record or any other outside                Formatted                                             ... [91]
                                                                                                Deleted:                 Section Break (Next Page)    ... [92]
 6 counsel.                                                                                     Deleted: ¶
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 7          2.9   Non-Party: any natural person, partnership, corporation, association, or                                                            ... [93]
                                                                                                Formatted                                             ... [94]
 8 other legal entity not named as a Party to this Action.                                      Deleted: action
                                                                                                Formatted                                             ... [95]
 9          2.10 Outside Counsel of Record: attorneys who are not employees of a party               Deleted: 2.10!

10 to this Action but are retained to represent or advise a party to this Action and have            Deleted: !
                                                                                                     Deleted: ¶
11 appeared in this Action on behalf of that party or are affiliated with a law firm that has   Formatted                                             ... [96]
                                                                                                Formatted
12 appeared on behalf of that party, and includes support staff.                                                                                      ... [97]
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13          2.11 Party: any party to this Action, including all of its officers, directors,     Formatted                                             ... [98]
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14 employees, consultants, retained experts, and Outside Counsel of Record (and their                Deleted: ¶                                      ... [100]

15 support staffs).                                                                             Formatted                                            ... [101]
                                                                                                     Deleted: 2.11!
16          2.12 Producing Party: a Party or Non-Party that produces Disclosure or                   Deleted: ¶
                                                                                                Formatted                                            ... [102]
17 Discovery Material in this Action.
                                                                                                     Deleted: ¶

18          2.13 Professional Vendors: persons or entities that provide litigation support      Formatted                                            ... [103]
                                                                                                Formatted                                            ... [104]
19 services   (e.g., photocopying, videotaping, translating, preparing exhibits or                   Deleted: 2.12!

20 demonstrations, and organizing, storing, or retrieving data in any form or medium) and            Deleted: !
                                                                                                     Deleted: ¶
21 their employees and subcontractors.                                                          Formatted                                            ... [105]
                                                                                                Formatted                                            ... [106]
22          2.14 Protected Material:      any Disclosure or Discovery Material that is
                                                                                                Formatted                                            ... [107]
23 designated as “CONFIDENTIAL                                                                       Deleted: 2.13!
                                                                                                     Deleted: !
24          2.15 Receiving Party: a Party that receives Disclosure or Discovery Material             Deleted: ¶

25 from a Producing Party.                                                                      Formatted                                            ... [108]
                                                                                                Formatted                                            ... [109]
26   3.     SCOPE                                                                               Formatted                                            ... [110]
                                                                                                     Deleted: ¶
27        The protections conferred by this Stipulation and Order cover not only
                                                                                                     Deleted: ¶

28 Protected Material (as defined above), but also (1) any information copied or extracted      Formatted                                            ... [111]
                                                                                                Formatted                                            ... [112]
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                                               [PROPOSED] PROTECTIVE ORDER                      Formatted                                            ... [113]
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                                                                                                    Deleted: !
 1 from Protected Material; (2) all copies, excerpts, summaries, or compilations of                 Deleted: !
                                                                                                    Deleted: !
 2 Protected Material; and (3) any testimony, conversations, or presentations by Parties            Deleted: !

 3 or their Counsel that might reveal Protected Material. However, the protections                  Deleted: ¶
                                                                                                Formatted                                       ... [125]
 4 conferred by this Stipulation and Order do not cover the following information: (a)          Formatted                                       ... [126]
                                                                                                Formatted
 5 any information that is in the public domain at the time of Disclosure to a Receiving                                                        ... [127]
                                                                                                Formatted                                       ... [128]
 6 Party or becomes part of the public domain after its Disclosure to a Receiving Party         Formatted                                       ... [129]
                                                                                                Formatted                                       ... [130]
 7 as a result of publication not involving a violation of this Order, including becoming
                                                                                                Formatted                                       ... [131]
 8 part of the public record through trial or otherwise; and (b) any information known to       Formatted                                       ... [132]
                                                                                                Formatted                                       ... [133]
 9 the Receiving Party prior to the Disclosure or obtained by the Receiving Party after         Formatted                                       ... [134]
                                                                                                    Deleted: ¶
10 the Disclosure from a source who obtained the information lawfully and under no
                                                                                                Formatted                                       ... [135]
11 obligation of confidentiality to the Designating Party.                                      Formatted                                       ... [136]
                                                                                                    Deleted: ¶
12         Any use of Protected Material at trial shall be governed by the orders of            Formatted                                       ... [137]
13    the trial judge. This Order does not govern the use of Protected Material at trial.       Deleted:            Section Break (Next Page)   ... [138]
                                                                                                Formatted                                       ... [139]
14    4.     DURATION                                                                               Deleted: <#>[ONE POSSIBLE PARAGRAPH] Once
                                                                                                                                           ... a[140]
                                                                                                                                                 case
                                                                                                    Deleted: <#>¶
15           Even after final disposition of this litigation, the confidentiality obligations
                                                                                                Formatted                                       ... [141]
16 imposed by this Order shall remain in effect until a Designating Party agrees otherwise      Formatted                                       ... [142]
                                                                                                    Deleted: <#>¶
17 in writing or a court order otherwise directs. Final disposition shall be deemed to be
                                                                                                Formatted                                       ... [143]
18 the later of (1) dismissal of all claims and defenses in this Action, with or without            Deleted: <#>¶
                                                                                                Formatted                                       ... [144]
19 prejudice; and (2) final judgment herein after the completion and exhaustion of all              Deleted: <#>¶
                                                                                                Formatted                                       ... [145]
20 appeals, rehearings, remands, trials, or reviews of this Action, including the time limits
                                                                                                    Deleted: <#>¶
21 for filing any motions or applications for extension of time pursuant to applicable law.     Formatted                                       ... [146]
                                                                                                    Deleted: <#>¶
22
      5.     DESIGNATING PROTECTED MATERIAL                                                     Formatted                                       ... [147]
23                                                                                                  Deleted: <#>¶
             5.1   Exercise of Restraint and Care in Designating Material for Protection.       Formatted                                       ... [148]
24                                                                                              Deleted: 21¶
             Each Party or Non-Party that designates information or items for protection                                                        ... [149]
                                                                                                Formatted                                       ... [150]
25
     under this Order must take care to limit any such designation to specific material that      Deleted: 5.1!
26                                                                                              Formatted                                       ... [151]
     qualifies under the appropriate standards. The Designating Party must designate for
                                                                                                Formatted                                       ... [152]
27
     protection only those parts of material, documents, items, or oral or written                Deleted: ¶

28                                                                                                Deleted: ¶
                                                                                                Formatted                                       ... [153]
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                                                 4                                              Formatted                                       ... [154]
                                               [PROPOSED] PROTECTIVE ORDER                      Formatted                                       ... [155]
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 1 communications that qualify – so that other portions of the material, documents, items,   Formatted                                                ... [161]
                                                                                               Deleted: <#>that are shown to be clearly unjustified or...
                                                                                                                                                       that
 2 or communications for which protection is not warranted are not swept unjustifiably                                                                    [162]
                                                                                               Deleted: <#>¶
 3 within the ambit of this Order.                                                           Formatted                                                ... [163]
                                                                                               Deleted: <#>¶
 4        Mass, indiscriminate, or routinized designations are prohibited. Designations      Formatted                                                ... [164]

 5 that are shown to be clearly unjustified or that have been made for an improper purpose     Deleted: <#>inapplicable
                                                                                             Formatted                                                ... [165]
 6 (e.g., to unnecessarily encumber the case development process or to impose                Formatted                                                ... [166]
                                                                                             Deleted: 5.2!
 7 unnecessary expenses and burdens on other parties) expose the Designating Party to
                                                                                             Formatted                                                ... [167]
 8 sanctions.                                                                                    Deleted: ¶
                                                                                             Formatted                                                ... [169]
 9        If it comes to a Designating Party’s attention that information or items that it   Formatted                                                ... [170]

10 designated for protection do not qualify for protection, that Designating Party must      Formatted                                                ... [168]
                                                                                                 Deleted: ¶
11 promptly notify all other Parties that it is withdrawing the innaplicable designation.    Formatted                                                ... [171]
                                                                                                 Deleted: ¶
12        5.2      Manner and Timing of Designations.
                                                                                             Formatted                                                ... [172]
13        Except as otherwise provided in this Order (see, e.g., second paragraph of             Deleted: ¶
                                                                                             Formatted                                                ... [173]
14 section 5.2(a) below), or as otherwise stipulated or ordered, Disclosure or Discovery     Formatted                                                ... [174]

15 Material that qualifies for protection under this Order must be clearly so designated           Deleted: (a)!
                                                                                                   Deleted: ¶
16 before the material is disclosed or produced.                                             Formatted                                                ... [175]
                                                                                             Formatted
17        Designation in conformity with this Order requires:                                                                                         ... [176]
                                                                                                   Deleted: ¶

18        (a)      for information in documentary form (e.g., paper or electronic            Formatted                                                ... [177]
                                                                                                   Deleted: !
19 documents, but excluding transcripts of depositions or other pretrial or trial                  Deleted: !
                                                                                                   Deleted: !
20 proceedings),    that the Producing Party affix at a minimum the legend
                                                                                                   Deleted: !
21 “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that                           Deleted: !
                                                                                                   Deleted: !
22 contains protected material. If only a portion or portions of the material on a page            Deleted: !

23 qualifies for protection, the Producing Party also must clearly identify the protected          Deleted: !
                                                                                             Formatted                                                ... [178]
24 portion(s) (e.g., by making appropriate markings in the margins).                         Formatted                                                ... [179]
                                                                                             Formatted
25          A Party or Non-Party that makes original documents or materials available for                                                             ... [180]
                                                                                             Formatted                                                ... [181]
26 inspection need not designate them for protection until after the inspecting Party has    Formatted                                                ... [182]
                                                                                             Formatted                                                ... [183]
27 indicated which documents or material it would like copied and produced. During the       Formatted                                                ... [184]
28 inspection and before the designation, all of the documents or material made available    Formatted                                                ... [185]
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                                                                                                   Deleted: !
                                                5                                                  Deleted: ¶
                                              [PROPOSED] PROTECTIVE ORDER                    Formatted                                                ... [186]
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 1 for inspection shall be deemed “CONFIDENTIAL.” After the inspecting Party has                   Deleted: !
                                                                                                   Deleted: !
 2 identified the documents or material it wants copied and produced, the Producing Party          Deleted: !

 3 must determine which documents or material, or portions thereof, qualify for                 Formatted           ... [197]
                                                                                                Formatted           ... [198]
 4 protection under this Order. Then, before producing the specified documents, the             Formatted           ... [199]
                                                                                                Formatted
 5 Producing Party must affix the “CONFIDENTIAL” legend to each page that contains                                  ... [200]
                                                                                                Formatted           ... [201]
 6 Protected Material. If only a portion or portions of the material on a page qualifies for    Formatted           ... [202]
                                                                                                Formatted           ... [203]
 7 protection, the Producing Party also must clearly identify the protected portion(s) (e.g.,
                                                                                                Formatted           ... [204]
 8 by making appropriate markings in the margins).                                                 Deleted: !
                                                                                                   Deleted: ¶       ... [207]
 9          (b)   for testimony given in depositions, that the Designating Party identify       Formatted           ... [205]
                                                                                                Formatted
10 the Disclosure or Discovery Material on the record, before the close of the deposition                           ... [206]
                                                                                                Formatted           ... [208]
11 all protected testimony.                                                                        Deleted: ¶
                                                                                                Formatted           ... [209]
12          (c)   for information produced in some form other than documentary and for             Deleted: ¶

13 any other tangible items, that the Producing Party affix in a prominent place on the            Deleted: !
                                                                                                   Deleted: !
14 exterior of the container or containers in which the information is stored the legend           Deleted: !
                                                                                                   Deleted: !
15 “CONFIDENTIAL.”            If only a portion or portions of the information warrants
                                                                                                   Deleted: !

16 protection, the Producing Party, to the extent practicable, shall identify the protected     Formatted           ... [210]
                                                                                                Formatted           ... [211]
17 portion(s).                                                                                  Formatted           ... [212]

18        5.3     Inadvertent Failures to Designate.                                            Formatted           ... [213]
                                                                                                Formatted           ... [214]
19        If timely corrected, an inadvertent failure to designate qualified information or        Deleted: !
                                                                                                   Deleted: !
20 items does not, standing alone, waive the Designating Party’s right to secure protection
                                                                                                   Deleted: !

21 under this Order for such material. Upon timely correction of a designation, the                Deleted: !
                                                                                                   Deleted: ¶
22 Receiving Party must make reasonable efforts to assure that the material is treated in       Formatted           ... [215]
                                                                                                Formatted
23 accordance with the provisions of this Order.                                                                    ... [216]
                                                                                                Formatted           ... [217]
24   6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS                                            Formatted           ... [218]
                                                                                                Formatted           ... [219]
25          6.1   Timing of Challenges.       Any Party or Non-Party may challenge a
                                                                                                Formatted           ... [220]
26 designation of confidentiality at any time that is consistent with the Court’s Scheduling       Deleted: ”
                                                                                                Formatted           ... [221]
27 Order.                                                                                          Deleted: ¶
                                                                                                Formatted           ... [222]
28
                                                                                                   Deleted: ¶
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                                                 6                                                 Deleted: ¶
                                               [PROPOSED] PROTECTIVE ORDER                      Formatted           ... [224]
                                                                                                    Deleted: (b)
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                                                                                                   Deleted: ¶                                        ... [253]
                                                                                              Formatted                                              ... [251]
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 1            6.2   Meet and Confer. The Challenging Party shall initiate the dispute         Formatted                                              ... [254]
                                                                                                   Deleted: 6.3!
 2 resolution process under Local Rule 37.1, et seq.
                                                                                                   Deleted: ¶
 3            6.3   The burden of persuasion in any such challenge proceeding shall be on     Formatted                                              ... [255]
                                                                                                   Deleted: ¶
 4 the Designating Party. Frivolous challenges, and those made for an improper purpose        Formatted                                              ... [256]

 5 (e.g., to harass or impose unnecessary expenses and burdens on other parties) may          Formatted                                              ... [257]
                                                                                                   Deleted: ¶
 6 expose the Challenging Party to sanctions. Unless the Designating Party has waived         Formatted                                              ... [258]
                                                                                                   Deleted: ¶
 7 or withdrawn the confidentiality designation, all parties shall continue to afford the
                                                                                              Formatted                                              ... [259]
 8 material in question the level of protection to which it is entitled under the Producing        Deleted: ¶
                                                                                              Formatted                                              ... [260]
 9 Party’s designation until the Court rules on the challenge.                                     Deleted: ¶

10   7.       ACCESS TO AND USE OF PROTECTED MATERIAL                                         Formatted                                              ... [261]
                                                                                                   Deleted: ¶
11            7.1   Basic Principles. A Receiving Party may use Protected Material that is    Formatted                                              ... [262]
                                                                                              Deleted: 10¶                                           ... [263]
12 disclosed or produced by another Party or by a Non-Party in connection with this
                                                                                              Formatted                                              ... [264]
13 Action only for prosecuting, defending, or attempting to settle this Action. Such          Deleted: A Receiving Party may use Protected Material
                                                                                                                                              ... [267]
                                                                                              Formatted                                              ... [265]
14 Protected Material may be disclosed only to the categories of persons and under the        Formatted                                              ... [266]

15 conditions described in this Order. When the Action has been terminated, a Receiving       Formatted                                              ... [268]
                                                                                                 Deleted: <#>disclosed or produced by another Party or...
                                                                                                                                                       by[269]
                                                                                                                                                          a
16 Party must comply with the provisions of section 13 below (FINAL DISPOSITION).                Deleted: <#>¶
                                                                                              Formatted                                              ... [270]
17        Protected Material must be stored and maintained by a Receiving Party at a
                                                                                                 Deleted: <#>¶

18 location and in a secure manner that ensures that access is limited to the persons         Formatted                                              ... [271]
                                                                                              Formatted                                              ... [272]
19 authorized under this Order.                                                                    Deleted: !

20        7.2       Disclosure of “CONFIDENTIAL” Information or Items.              Unless    Formatted                                              ... [273]
                                                                                              Formatted                                              ... [274]
21 otherwise ordered by the court or permitted in writing by the Designating Party, a              Deleted: !
                                                                                                   Deleted: !
22 Receiving Party may disclose any information or item designated “CONFIDENTIAL”
                                                                                                   Deleted: !

23 only to:                                                                                        Deleted: !
                                                                                                   Deleted: !
24        (a)       the Receiving Party’s Outside Counsel of Record in this Action, as well        Deleted: ¶
                                                                                              Formatted
25 as employees of said Outside Counsel of Record to whom it is reasonably necessary to                                                              ... [275]
                                                                                              Formatted                                              ... [276]
26 disclose the information for this Action;                                                  Formatted                                              ... [277]
                                                                                              Formatted                                              ... [278]
27        (b)       the officers, directors, and employees (including House Counsel) of the   Formatted                                              ... [279]
28 Receiving Party to whom disclosure is reasonably necessary for this Action;                     Deleted: ¶
                                                                                              Formatted                                              ... [280]
                                                                                                   Deleted: !
                                                 7                                                 Deleted: !
                                               [PROPOSED] PROTECTIVE ORDER                         Deleted: !
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                                                                                              Formatted                                              ... [285]
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                                                                                                   Deleted: ¶
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                                                                                               Formatted                                                 ... [298]
                                                                                                 Deleted: <#>disclosure is reasonably necessary for this
                                                                                                                                                      ... [299]
                                                                                               Formatted                                                 ... [300]
                                                                                               Deleted:
                                                                                               Formatted                                                 ... [301]
 1        (c)     Experts (as defined in this Order) of the Receiving Party to whom                 Deleted: ¶
                                                                                               Formatted
 2 disclosure is reasonably necessary for this Action and who have signed the                                                                            ... [302]
                                                                                               Formatted                                                 ... [303]
 3 “Acknowledgment and Agreement to Be Bound” (Exhibit A);                                       Deleted: <#>signed the “Acknowledgment and Agreement to
                                                                                                                                                 ... [304]
                                                                                                 Deleted: <#>¶
 4        (d)     the court and its personnel;                                                 Formatted                                                 ... [305]
 5        (e)     court reporters and their staff;                                             Formatted                                                 ... [306]
                                                                                                    Deleted: ,
 6        (f)     professional jury or trial consultants, mock jurors, and Professional             Deleted: ¶
                                                                                               Formatted
 7 Vendors to whom disclosure is reasonably necessary for this Action and who have                                                                       ... [307]
                                                                                               Formatted                                                 ... [308]
 8 signed the “Acknowledgment and Agreement to be Bound” attached as Exhibit A                      Deleted: 1
                                                                                                    Deleted: ¶
 9 hereto;                                                                                     Formatted                                                 ... [309]

10        (g)     the author or recipient of a document containing the information or a        Formatted                                                 ... [310]
                                                                                                    Deleted: form attached as Exhibit 1 hereto; and (2
11 custodian or other person who otherwise possessed or knew the information;                  Formatted                                                 ... [311]
                                                                                               Formatted                                                 ... [312]
12        (h)     during their depositions, witnesses, and attorneys for witnesses, in the
                                                                                                    Deleted: ¶

13 Action to whom disclosure is reasonably necessary provided: (i) the deposing party          Formatted                                                 ... [313]
                                                                                                    Deleted: ¶
14 requests that the witness sign the “Acknowledgment and Agreement to Be Bound;”                   Deleted: ” (Exhibit A),
                                                                                                    Deleted: ¶
15 and (ii) they will not be permitted to keep any confidential information unless they sign
                                                                                               Formatted                                                 ... [314]
16 the “Acknowledgment and Agreement to Be Bound,” unless otherwise agreed by the              Formatted                                                 ... [315]
                                                                                               Formatted                                                 ... [316]
17 Designating Party or ordered by the Court. Pages of transcribed deposition testimony
                                                                                                    Deleted: court.

18 or exhibits to depositions that reveal Protected Material may be separately bound by             Deleted: ¶
                                                                                               Formatted                                                 ... [317]
19 the court reporter and may not be disclosed to anyone except as permitted under this        Formatted                                                 ... [318]
                                                                                                    Deleted: ¶
20 Stipulated Protective Order; and
                                                                                               Formatted                                                 ... [319]
21        (i)     any mediator or settlement officer, and their supporting personnel,               Deleted: ¶
                                                                                               Formatted                                                 ... [320]
22 mutually agreed upon by any of the parties engaged in settlement discussions.
                                                                                               Formatted                                                 ... [321]
23   8.      PROTECTED          MATERIAL             SUBPOENAED        OR      ORDERED           Deleted: <#>mutually agreed upon by any of the parties
                                                                                                                                                      ... [322]
                                                                                               Formatted                                                 ... [323]
24   PRODUCED IN OTHER LITIGATION                                                                Deleted: <#>¶
                                                                                               Formatted
25        If a Party is served with a subpoena or a court order issued in other litigation                                                               ... [324]
                                                                                                   Deleted: ¶
26   that compels disclosure of any information or items designated in this Action as          Formatted                                                 ... [325]
                                                                                                   Deleted: ¶                                            ... [327]
27   “CONFIDENTIAL,” that Party must:                                                          Formatted                                                 ... [326]
28              (a)      promptly notify in writing the Designating Party. Such                     Deleted: (a)!
                                                                                               Formatted                                                 ... [328]
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                                                   8
                                                 [PROPOSED] PROTECTIVE ORDER
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                                                                                                     Deleted: ¶
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                                                                                                     Deleted: (b)
                                                                                                Formatted                  ... [331]
                                                                                                     Deleted: ¶
 1 notification shall include a copy of the subpoena or court order;                                 Deleted: ¶
                                                                                                Formatted
 2                (b)     promptly notify in writing the party who caused the subpoena or                                  ... [332]
                                                                                                     Deleted: ¶

 3 order to issue in the other litigation that some or all of the material covered by the       Formatted                  ... [333]
                                                                                                Formatted                  ... [334]
 4 subpoena or order is subject to this Protective Order. Such notification shall include a          Deleted: (c)!

 5 copy of this Stipulated Protective Order; and                                                     Deleted: ¶
                                                                                                Formatted                  ... [335]
 6                (c)     cooperate with respect to all reasonable procedures sought to be      Formatted                  ... [336]
                                                                                                Formatted
 7 pursued by the Designating Party whose Protected Material may be affected.                                              ... [337]
                                                                                                    Deleted: ¶

 8 If the Designating Party timely seeks a protective order, the Party served with the          Formatted                  ... [338]
                                                                                                    Deleted: ¶
 9 subpoena or court order shall not produce any information designated in this action as       Formatted                  ... [339]

10 “CONFIDENTIAL” before a determination on such protective order request by the                    Deleted: ¶
                                                                                                Formatted                  ... [340]
11 court or tribunal from which the subpoena or order issued, unless the Party has obtained         Deleted: ¶
                                                                                                Formatted                  ... [341]
12 the Designating Party’s permission. The Designating Party shall bear the burden and
                                                                                                    Deleted: ¶

13 expense of seeking protection in that court of its confidential material. Nothing in these       Deleted: and nothing
                                                                                                Formatted                  ... [342]
14 provisions should be construed as authorizing or encouraging a Receiving Party in this       Formatted                  ... [343]
                                                                                                    Deleted: ¶
15 Action to disobey a lawful directive from another court.
                                                                                                Formatted                  ... [344]
16   9.   A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE                                             Deleted: ¶
                                                                                                Formatted                  ... [345]
17        PRODUCED IN THIS LITIGATION
                                                                                                Deleted: 18¶               ... [346]
18          (a)     The terms of this Order are applicable to information produced by a         Formatted                  ... [347]
                                                                                                Deleted: !
19 Non-Party in this Action and designated as “CONFIDENTIAL.” Such information                  Formatted                  ... [348]
                                                                                                Deleted: !
20 produced by Non-Parties in connection with this litigation is protected by the remedies
                                                                                                Deleted: !
21 and relief provided by this Order. Nothing in these provisions should be construed as        Deleted: !
                                                                                                Deleted: !
22 prohibiting a Non-Party from seeking additional protections.                                 Deleted: !

23          (b)     In the event that a Party is required, by a valid discovery request, to     Deleted: ¶
                                                                                                Formatted                  ... [349]
24 produce a Non-Party’s confidential information in its possession, and the Party is           Formatted                  ... [350]
                                                                                                Formatted
25 subject to an agreement with the Non-Party not to produce the Non-Party’s confidential                                  ... [351]
                                                                                                Formatted                  ... [352]
26 information, then the Party shall:                                                           Formatted                  ... [353]
                                                                                                Formatted                  ... [354]
27                  (1) promptly notify in writing the Requesting Party and the Non-Party       Formatted                  ... [355]
28 that some or all of the information requested is subject to a confidentiality agreement           Deleted: (a)
                                                                                                     Deleted: ¶
                                                                                                Formatted                  ... [356]
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                                               [PROPOSED] PROTECTIVE ORDER                           Deleted: ¶
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                                                                                                 Formatted           ... [371]
                                                                                                        Deleted: !
                                                                                                        Deleted: ¶
                                                                                                 Formatted           ... [372]
                                                                                                 Formatted           ... [373]
 1 with a Non-Party;                                                                                    Deleted: ¶
                                                                                                 Formatted
 2                 (2) promptly provide the Non-Party with a copy of the Stipulated                                  ... [374]
                                                                                                 Formatted           ... [375]
 3 Protective Order in this Action, the relevant discovery request(s), and a reasonably                 Deleted: !
                                                                                                        Deleted: ¶
 4 specific description of the information requested; and                                        Formatted           ... [376]

 5                 (3) make the information requested available for inspection by the Non-       Formatted           ... [377]
                                                                                                 Formatted           ... [378]
 6 Party, if requested.                                                                               Deleted: (c)
                                                                                                 Formatted
 7          (c)    If the Non-Party fails to object or seek a protective order from this court                       ... [379]
                                                                                                      Deleted: ¶

 8 within 14 days of receiving the notice and accompanying information, the Receiving            Formatted           ... [380]
                                                                                                      Deleted: ¶     ... [381]
 9 Party may produce the Non-Party’s confidential information responsive to the                  Formatted           ... [382]

10 discovery request. If the Non-Party timely seeks a protective order, the Receiving Party           Deleted: ¶
                                                                                                 Formatted           ... [383]
11 shall not produce any information in its possession or control that is subject to the              Deleted: ¶
                                                                                                      Deleted: ¶
12 confidentiality agreement with the Non-Party before a determination by the court.
                                                                                                 Formatted           ... [384]
13 Absent a court order to the contrary, the Non-Party shall bear the burden and expense              Deleted: ¶
                                                                                                 Formatted           ... [385]
14 of seeking protection in this court of its Protected Material.                                     Deleted: ¶
                                                                                                 Formatted
15   10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL                                                               ... [386]
                                                                                                 Formatted           ... [387]
16        If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed       Deleted: 18¶        ... [388]
                                                                                                 Formatted           ... [389]
17 Protected Material to any person or in any circumstance not authorized under this
                                                                                                 Formatted           ... [390]
18 Stipulated Protective Order, the Receiving Party must immediately (a) notify in writing           Deleted: ¶
                                                                                                     Deleted: ¶
19 the Designating Party of the unauthorized disclosures, (b) use its best efforts to retrieve   Formatted           ... [391]
                                                                                                     Deleted: ¶
20 all unauthorized copies of the Protected Material, (c) inform the person or persons to
                                                                                                 Formatted           ... [392]
21 whom unauthorized disclosures were made of all the terms of this Order, and (d)               Formatted           ... [393]
                                                                                                     Deleted: ¶
22 request such person or persons to execute the “Acknowledgment and Agreement to Be
                                                                                                 Formatted           ... [394]
23 Bound” that is attached hereto as Exhibit A.                                                      Deleted: ¶
                                                                                                 Formatted           ... [395]
24   11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE                                           Deleted: ¶
                                                                                                 Formatted
25        PROTECTED MATERIAL                                                                                         ... [396]
                                                                                                     Deleted: ¶
26        When a Producing Party gives notice to Receiving Parties that certain                  Formatted           ... [397]
                                                                                                 Deleted: 28! \\¶    ... [398]
27 inadvertently produced material is subject to a claim of privilege or other protection,       Formatted           ... [399]
28 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil         Deleted:
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                                                10                                               Deleted:
                                               [PROPOSED] PROTECTIVE ORDER                       Deleted:
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                                                                                                     Deleted: ¶
                                                                                                Formatted                                             ... [412]
                                                                                                Formatted                                             ... [413]
 1 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure                Deleted: ¶
                                                                                                Formatted
 2 may be established in an e-discovery order that provides for production without prior                                                              ... [414]
                                                                                                     Deleted: ¶

 3 privilege review. Pursuant to Federal Rule of Evidence 502(d) and (e), insofar as the             Deleted: ¶
                                                                                                Formatted                                             ... [415]
 4 parties reach an agreement on the effect of disclosure of a communication or                      Deleted: ¶

 5 information covered by the attorney-client privilege or work product protection, the         Formatted                                             ... [416]
                                                                                                Formatted                                             ... [417]
 6 parties may incorporate their agreement in the stipulated protective order submitted to      Deleted: 13¶                                          ... [418]
                                                                                                Formatted                                             ... [419]
 7 the court.
                                                                                                     Deleted: ¶

 8   12. MISCELLANEOUS                                                                          Formatted                                             ... [420]
                                                                                                Formatted                                             ... [421]
 9        12.1     Right to Further Relief. Nothing in this Order abridges the right of any     Formatted                                             ... [422]

10 person to seek its modification by the Court in the future.                                       Deleted: By stipulating to the entry of this¶    ... [424]
                                                                                                Formatted                                             ... [423]
11        12.2     Right to Assert Other Objections. No Party waives any right it otherwise     Formatted                                             ... [425]
                                                                                                     Deleted: ¶
12 would have to object to disclosing or producing any information or item on any ground
                                                                                                Formatted                                             ... [426]
13 not addressed in this Stipulated Protective Order. Similarly, no Party waives any right           Deleted: ¶
                                                                                                Formatted                                             ... [427]
14 to object on any ground to use in evidence of any of the material covered by this                 Deleted: ¶
                                                                                                Formatted
15 Protective Order.                                                                                                                                  ... [428]
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16        12.3     Filing Protected Material. A Party that seeks to file under seal any         Deleted: A Party that seeks to file under seal any
                                                                                                Formatted                                             ... [430]
17 Protected Material must comply with Civil Local Rule 79-5. Protected Material may
                                                                                                Formatted                                             ... [431]
18 only be filed under seal pursuant to a court order authorizing the sealing of the specific   Formatted                                             ... [432]
                                                                                                   Deleted: <#>Protected Material must comply with Civil
                                                                                                                                                      ...Local
                                                                                                                                                          [433]
19 Protected Material at issue. If a Party's request to file Protected Material under seal is   Formatted                                             ... [434]

20 denied by the Court, then the Receiving Party may file the information in the public         Formatted                                             ... [435]
                                                                                                     Deleted: the
21 record unless otherwise instructed by the Court.                                                  Deleted: ¶
                                                                                                Formatted                                             ... [436]
22   13. FINAL DISPOSITION                                                                           Deleted: ¶

23        After final disposition of this Action, as defined in paragraph 4, within 60 days     Formatted                                             ... [437]
                                                                                                Formatted                                             ... [438]
24 of a written request by the Designating Party, each Receiving Party must return all               Deleted: ¶
                                                                                                Formatted
25 Protected Material to the Producing Party or destroy such material. As used in this                                                                ... [439]
                                                                                                     Deleted: ¶
26 subdivision, “all Protected Material” includes all copies, abstracts, compilations,               Deleted: ¶
                                                                                                Formatted                                             ... [440]
27 summaries, and any other format reproducing or capturing any of the Protected
                                                                                                Formatted                                             ... [441]
28 Material. Whether the Protected Material is returned or destroyed, the Receiving Party            Deleted: ¶
                                                                                                Formatted                                             ... [442]
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                                                11
                                               [PROPOSED] PROTECTIVE ORDER
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                                                                                                    Deleted: ¶
 1 must submit a written certification to the Producing Party (and, if not the same person      Formatted                                   ... [444]

 2 or entity, to the Designating Party) by the 60 day deadline that (1) identifies (by          Formatted                                   ... [445]
                                                                                                    Deleted: ¶
 3 category, where appropriate) all the Protected Material that was returned or destroyed       Formatted                                   ... [446]
                                                                                                    Deleted: ¶
 4 and (2) affirms that the Receiving Party has not retained any copies, abstracts,
                                                                                                Formatted                                   ... [447]
 5 compilations, summaries or any other format reproducing or capturing any of the                  Deleted: ¶
                                                                                                Formatted                                   ... [448]
 6 Protected Material. Notwithstanding this provision, Counsel are entitled to retain an            Deleted: ¶
                                                                                                Formatted
 7 archival copy of all pleadings, motion papers, trial, deposition, and hearing transcripts,                                               ... [449]
                                                                                                    Deleted: ¶
 8 legal memoranda, correspondence, deposition and trial exhibits, expert reports,              Formatted                                   ... [450]
                                                                                                    Deleted: ¶
 9 attorney work product, and consultant and expert work product, even if such materials
                                                                                                Formatted                                   ... [451]
10 contain Protected Material. Any such archival copies that contain or constitute                  Deleted: ¶
                                                                                                Formatted                                   ... [452]
11 Protected Material remain subject to this Protective Order as set forth in Section 4             Deleted: ¶
                                                                                                Formatted
12 (DURATION).                                                                                                                              ... [453]
                                                                                                    Deleted: ¶
13        14. Any violation of this Order may be punished by any and all appropriate            Formatted                                   ... [454]
                                                                                                    Deleted: ¶
14 measures including, without limitation, contempt proceedings and/or monetary                 Formatted                                   ... [455]
15 sanctions.                                                                                   Deleted: 20! \\¶
                                                                                                21! \\¶
                                                                                                22! \\¶
16                                                                                              23! \\¶
                                                                                                24! \\¶
17        IT IS SO ORDERED.                                                                     25! \\¶
                                                                                                26! \\¶
                                                                                                27! \\¶
18                                                                                                              ¶
                                                                                                ¶

19 DATED: ____________________            ________________________________                      ¶
                                                                                                ¶
                                             Honorable Kenly Kiya Kato                          ¶                                           ... [456]
20                                           United States District Court                       Deleted: !
                                             Central District of California                     Deleted: ¶
21
                                                                                                Formatted: Not Expanded by / Condensed by
22                                                                                              Formatted                                   ... [457]
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23                                                                                              Formatted                                   ... [458]

24                                                                                              Formatted: Not Expanded by / Condensed by
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25                                                                                              Formatted: Font: 14 pt, Bold
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27                                                                                              Deleted: 18¶                                ... [462]
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28                                                                                              Formatted                                   ... [443]


                                                12
                                               [PROPOSED] PROTECTIVE ORDER
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                                                                                                Formatted                                               ... [466]
                                                                                                Formatted                                               ... [468]
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                                                                                                Formatted                                               ... [469]
 1                                        EXHIBIT A                                              Deleted: 3¶
                                                                                                 Deleted: ! ! !
 2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND                                          Deleted: !

 3        I,   _____________________________          [print   or   type   full   name],   of    Deleted: !
                                                                                                 Deleted: !
 4 ____________________________________ [print or type full address], declare under              Deleted: !
                                                                                                 Deleted: !
 5 penalty of perjury that I have read in its entirety and understand the Protective Order       Deleted: ¶                                             ... [477]

 6 that was issued by the United States District Court for the Central District of California   Formatted                                               ... [470]
                                                                                                Formatted                                               ... [471]
 7 on ___________________in the case of Joseph Diaz, Jr. v. Ralph Heredia et al., Case          Formatted                                               ... [472]

 8 No. Case No. 5:20-cv-02332- JWH-KK. I agree to comply with and to be bound by all
                                                                                                Formatted                                               ... [473]
                                                                                                Formatted                                               ... [474]
 9 the terms of this Protective Order and I understand and acknowledge that failure to so       Formatted                                               ... [475]
                                                                                                Formatted
10 comply could expose me to sanctions and punishment in the nature of contempt. I
                                                                                                                                                        ... [476]
                                                                                                Formatted                                               ... [478]
11 solemnly promise that I will not disclose in any manner any information or item that          Deleted: ¶
                                                                                                 Deleted: Stipulated
12 is subject to this Protective Order to any person or entity except in strict compliance      Formatted                                               ... [479]

13 with the provisions of this Order.
                                                                                                Formatted                                               ... [480]
                                                                                                 Deleted: ¶

14        I further agree to submit to the jurisdiction of the United States District Court      Deleted: ¶
                                                                                                Formatted                                               ... [481]
15 for the Central District of California for the purpose of enforcing the terms of this        Formatted                                               ... [482]

16 Protective Order, even if such enforcement proceedings occur after termination of this        Deleted: [date]
                                                                                                 Deleted: ! [insert formal name of the case and the¶ ... [484]
17 action.                                                                                      Formatted                                               ... [483]
                                                                                                Formatted
18        I hereby appoint __________________________ [print or type full name] of                                                                      ... [485]
                                                                                                 Deleted: ¶

19 _______________________________________ [print or type full address and                      Formatted                                               ... [486]
                                                                                                 Deleted: Stipulated
20 telephone number] as my California agent for service of process in connection with            Deleted: ¶

21 this action or any proceedings related to enforcement of this Stipulated Protective          Formatted                                               ... [487]
                                                                                                Formatted                                               ... [488]
22 Order.                                                                                        Deleted: ¶
                                                                                                Formatted                                               ... [489]
23
                                                                                                 Deleted: ¶

24 Date: ______________________________________                                                 Formatted                                               ... [490]
                                                                                                 Deleted: Stipulated
25 City and State where sworn and signed: _________________________________                      Deleted: ¶
                                                                                                Formatted                                               ... [491]
26
                                                                                                Formatted                                               ... [492]
27 Printed name: _______________________________                                                Formatted                                               ... [493]
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28 Signature: __________________________________
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